Case 8:08-cv-01395-JSM-TGW Document1 Filed 07/21/08 Page 1 of 15 PagelD 1

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Case No: a
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MATT GEIGER, 1 8 i? > (
Plaintiff,
Vv.

GLOBAL ASSET HOLDINGS LLC,

Defendant.
/

COMPLAINT
Plaintiff, MATT GEIGER, by and through his undersigned attorneys, sue
Defendant GLOBAL ASSET HOLDINGS LLC, and alleges:

1. This is an action for specific performance of a Contract For Sale and
Purchase of real and personal property located in Pinellas County,
Florida.

2. Plaintiff Matt Geiger is a citizen of the State of Florida who resides in
Pinellas County, Florida.

3 Defendant Global Asset Holdings LLC is a Delaware limited liability
company.

4. Defendant Global Asset Holdings LLC has not been incorporated by

the State of Florida and does not have its principal place of business
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in Florida. Defendant is not a citizen of Florida for purposes of federal
diversity jurisdiction.

5. This court has jurisdiction over the subject matter of this action
pursuant to 28 U.S.C. 1332 in that it is a civil action between citizens
of different States and the matter in controversy exceeds the sum or
value of $75,000, exclusive of interest and costs.

6. This court has jurisdiction over the defendant pursuant to
48.193(1)(g) Florida Statutes in that this action arises from the
defendant's breach of a contract in this state by failing to perform acts
required by the contract to be performed in this state, specifically the
purchase of Florida real and personal property.

7. Venue is proper in this Court under 28 U.S.C. 1391 in that this action
is founded only on diversity of citizenship and the property that is the
subject of this action is situated in this judicial district.

8. On or about November 27, 2007, Plaintiff and Defendant entered into
a Contract For Sale and Purchase of certain real and personal property
located in Pinellas County, Florida. Plaintiff was the seller and
Defendant the buyer under that contract. A true and correct copy of

the Contract For Sale and Purchase is attached hereto as Exhibit “A.”
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9. Under the terms of the Contract For Sale and Purchase, Defendant
was to pay Plaintiff $21 million for the property in a cash transaction
within 90 days of November 27, 2007.

10. In December of 2007, Plaintiff was offered the sum of $15 million for
the property by another buyer who wanted to close the transaction in
an expedited manner. Plaintiff requested Defendant to release him
from the Contract For Sale and Purchase in order to pursue the
expedited sale to the other buyer. That request was refused, and
Defendant's agent continued to assure Plaintiff that Defendant would
close the sale as contracted.

11. Thereafter, on or about February 25, 2008, Defendant's agent
informed Plaintiff that Defendant did not intend to purchase the
property due to, “market conditions in the real estate market across
the country.”

12. Plaintiff was at all times material to this action and is currently in
possession of good and marketable title to the subject property and
ready, willing and able to convey such title to Defendant.

13. Despite Plaintiff's capacity and willingness to convey good and
marketable title to the subject property to Defendant and despite
Defendant's contractual obligation to purchase that property,

Defendant refused to do so.
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14. The Contract For Sale and Purchase provides that if Defendant fails to
perform the contract within the time specified, Plaintiff, at his option,
may proceed in equity to enforce his contract rights.

15. The Contract For Sale and Purchase further provides for recovery of
prevailing party attorneys fees, costs and expenses in any litigation
arising out of that contract.

16. _ Plaintiff has retained the undersigned law firm to represent him in this
action and is obligated to pay a reasonable fee for its services.

17. In accordance with the well established Florida law of Clements v.
Leonard, 70 So.2d 840 (Fla. 1954), Plaintiff seeks specific
performance of the contract, failing which the court will enter
judgment against and order the property to be sold at public sale with
the sale proceeds applied to the judgment amount.

Wherefore Plaintiff Matt Geiger demands the following relief against

Defendant Global Asset Holdings LLC in the form of Order(s) or Judgment(s):

1. Compelling specific performance of the Contract For Sale and
Purchase, specifically purchase by the Defendant at the contract
amount, within the time set by the Court;

2. Providing that if Defendant fails to specifically perform the contract as

ordered, that judgment for the contract purchase price together with
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Plaintiff's attorneys fees, costs and expenses be entered in favor of
Plaintiff against Defendant;

3. Conveying the property to Defendant, expressly subject to the
judgment in favor of Plaintiff and subject to a pending public sale; and

4. Providing that if the judgment amount is not paid by Defendant within
the time set by the Court, that the property be sold at public sale, in
the nature of a foreclosure sale, with Plaintiff having the right to bid
up to the amount of judgment and with the sale proceeds applied
against the judgment amount;

5. That the Court retain jurisdiction to enter such other Orders and may
be appropriate to transfer title and possession of the property to the
purchaser at the public sale;

6. In the event the public sale fails to satisfy judgment, that a final and
executable deficiency judgment be entered against Defendant for the
difference; and

7. Such other and further relief as the court deems meet and proper.

Dated this ___ day of July, 2008.
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Respectfully submitte

 

 

WILLIAM H? HUGHES III
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PENNINGTON, MOORE, WILKINSON,
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Post Office Box 10095
Tallahassee, Florida 32302,
(850) 222-3533 - Telephone
(850) 222-2126 - Facsimile
Attorneys for Plaintiff
Matt Geiger
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3523343283 To: 1866eie8ese Pagete’6

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PARTIES: __Matthaw A Geiger a z
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TIME FOR ACCEPTANCE OF OFFER AND COUNTEROFFERS; EFFECTIVE DATE:

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Case 8:08-cv-01395-JSM-TGW Document1 Filed 07/21/08 Page 10 of 15 PagelD 10

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Case 8:08-cv-01395-JSM-TGW Document1 Filed 07/21/08 Page 11 of 15 PagelD 11

 

 

 

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Addendum to Contract oo
_ FLORIDA ASSOCIATION OF REAIDRS® ao
Remtemere 8 Ay
Addendum No, 1. sto the Contract dated November, 2007 between
{Matthew A Geiper (Setter)
and Gtobsl Asset Holdings, LLC (Buyer)

 

concerning the property deserbed as:
3385 Od Keystone Rosd, Tarpon Springs, Plortds

|e “Contyact’), Buyer and Seller make the folowing terms and conditions pant of the Contract:
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ly ¥ the boundary Unes. Alo 6 pares! id number to verify property taxes shail be provided by SeUer. rer eemrae
Ke The Buyer will conduct a 98 dey due ditigence/terrow period io whith this property will elose on or before those 90 Gays nts
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arrangements sod any other impact issues that may relate to ths property. Also any mineral rights thet exist that may be
avalisbte on (bis property thet cosy effect the Buyer. Seller mnst provide s Sellers disclosure form to this cootract.

Seder to provide copies of any covenants, codes and restrictions before dosing. Abo any environment! tests or sofl test shall
be provided te Bryer.

Sellers shaf} be able to keep said property op the marke( sod be able to tale any bock up offers on said property. All back up
contracts cannot chose withra the 90 days Ge diligence of this contract.

Buyers wif pay for ail title inzursnee and copts retated to title and use the title company North American Tithe

Real Estate Services wit! be th paying » referral fee te the Broker for Pacific Pioancial Lending at 2%. Th
t Avvyer hereby agrees to hold seller and Th: Cocapany berenless frem any ead all claines, demands, commissions er any
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Date:

 
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Bern in bonr \
My urns
FOYER- 2°’ FLOOR ome com(
Buffet table- Henredon
Chairs (2) - Jeffco
Occasional tables- Henredon
Foyer table- Custom

OFFICE- 2" FLOOR

Desk- Custom 4X14

Desk chair- Hancock and Moore
Paisley Chairs (2) - Drexel

End Table- Burnheart

Conference table- Bumheart (4 chairs)

MASTER BEDROOM.- 2° FLOOR
Council table- Ralph Lauren

Sofa- E.J. Victor

Coffee table- Ralph Lauren

Chairs (2) - Drexel

Chairs (2) ~ E.J. Victor

End table- Shery) - -~---

End tables (2) - Burnhcart

Sofa bench- Drexel

Bed- Custom 10X8

LIVING ROOM- 2"? FLOOR
Sofa- E.J. Victor

Chair & Eudemon- Sheryl
Chairs (2) - Jeffco

Sofa table- Sheryl

End table- Jeffco

DINING ROOM.- 2”° FLOOR
Table (12 chairs) — Century

HALLWAY: 2"° FLOOR
Buffet tables (2) - Drexel

FAMILY ROOM-2"? FLOOR

Lawyer case- Thomasville

Card table (6 chairs) - Thomasville

Chest (2) - Ralph Lauren

Sofa- Marge Carson

Leather chairs (2) - Burmheart

Eudemons (2) ~ Shery! K 7 ~
Cocktail table- Marge Carson

Chairs (2) — Sheryl
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Counter stools (12) ~ Hancock & Moore
Chairs (2) - Drexel

Eudemon- Taylor King

Dining table- Custom /Chairs 10- Sam Moote
Chairs- Hancock & Moore
End table- Sheryl
Buffet table- Giemme
Buffet table- Lane

KITCHEN-2”° FLOOR |
{

GAME ROOM- 1* FLOOR
Pool tables (2) - Magnolia

Pub tables (3)-

Leather bar stoo)s (30) - Shery!

CIGAR ROOM: 1* FLOOR
Sectional- Custom

Card table- Custom !
Chairs (8) - Thomasville

THBATER- 1" FLOOR
Sofa E.J. Victor

Leather sofas- Motion Craft
Sectional- Shery!

End table- Lane

KITCHEN- 1° FLOOR
Tables (2) - Bakers furniture ( 6 chairs)

SAUNA ROOM - ]" FLOOR
Loveseats (2) - Kingsley and Bait
Chairs (4) - Kingsley and Bait

CABANA ROOM - 1" FLOOR
Sofa- Tommy Bahama

Chairs (6) - Tommy Bahama '
Eudemons (4) - Tommy Bahama :
Coffee table- :

SUNKIN LIVING ROOM-}"ELOOR L
Sofas (3) - Henredon i |

End tables (3) - Custom

Coffee table- Custom 54X54

End table- Stanley

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GUEST SUITE ONE - 3" FLOOR
Council table- American Drew
Bed- American Drew

Night chest- American Drew

End tables (2) - American Drew
Coffee table- American Drew
Armoire- Hekmen

Desk- Hooker

Chair (2) - Taylor King

Sofa- Taylor King

GUEST SUITE TWO- 3®° FLOOR
Bed- Schnadig

Night chest- Schnadig

Anmoire- Schnadig

Desk- Schnadig

Chair- Schnadig

Chest — Lane

Coffce table- Schnadig

End Table — Schnadig

BABIES ROOM- 3"° FLOOR
Beds (2) - Lane

Armoire- Lanc

Dressers (2) - Lane

Crib-

Changing Table/Dresser-
Bookcase- Lane

HALLWAY- 3°° FLOOR
Curios (5) - Pulaski

GUEST ROOM THREE- 3°° FLOOR
Bed- Lane

Dresser- Lanc

Annoire- Custom

Chest- Hooker

End tables (2) - Lane

Chair- Fairfield

GUEST ROOM FOUR- 3°° FLOOR | C
Bed- Taylor King
Armoire- Stanley

Chair- Fairfield
Case 8:08-cv-01395-JSM-TGW Document1 Filed 07/21/08 Page 15 of 15 PagelD 15

DEN - 3°? FLOOR

Leather chairs (2) - Henredon
Sofa- Sheryl

Coffee table- Century

End table- Sam Moore

Desk Chair- Hooker

Chair- Sam Moore

LIBRARY- 3°? FrooR
Chair and Eudemon- Henredon
Desk-

PATIO FURNITURE- 2%? FLOOR
(Pavilion)

3 tables with 14 chairs

1 sofa

4 chairs w/ eudemons

Fire pit

POOL AREA FURNITURE-
(Kingsley and Bait)

31 pool side chairs

2 pub tables w/ 8 chairs

2 sofa benches w/ 6 chairs

10 bar stools

2 card tables w/ 8 chairs
Table w/ 8 chairs

Table w/ 10 chairs

Me ee.
